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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF ALABAMA
                                         SOUTHERN DIVISION

 PHILLIP DRAUGHTER, JR.,                                           )
                                                                   )
            Plaintiff,                                             )
                                                                   )
 v.                                                                )      CIVIL ACTION NO. 1:19-cv-00609-TFM-N
                                                                   )
 ALABAMA STATE PORT                                                )
 AUTHORITY,                                                        )
                                                                   )
            Defendant.                                             )

                             JOINT STATEMENT REGARDING SETTLEMENT

            Pursuant to the Court’s Scheduling Order, the parties submit this statement regarding the

 status of settlement negotiations:

            1.         Counsel for the parties have engaged in meaningful discussions about the

 possibility of settlement. Settlement has not been reached, but informal efforts have not been

 exhausted.

            2.         The parties acknowledge and agree that a Magistrate Judge-led settlement

 conference may prove useful in the future, but is not needed at this time especially in light of the

 parties’ pending motions for summary judgment.

 Respectfully submitted,

 /s/ Christine Harding Hart                                                   /s/ Ronnie L. Williams*
 Lisa Darnley Cooper (COOP8509)                                               Ronnie L. Williams
 Christine Harding Hart (HARTC5687)                                           Reginald Williams
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 Attorneys for Alabama State Port Authority                                   Attorney for Plaintiff




 *Christine Harding Hart represents that she was given consent by Ronnie L. Williams to electronically file and sign on behalf of Plaintiff.
